        Case 1:25-cv-01510-JHR                Document 18           Filed 03/03/25       Page 1 of 16




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------

THE CITY OF NEW YORK,

                                           Plaintiﬀ,

                                   v.                                      Civ. Action No. 25-cv-1510 (JHR)
 DONALD TRUMP, et al.,
                                        Defendants.

------------------------------------------------------------------------




        PLAINTIFF CITY OF NEW YORK’S REPLY MEMORANDUM OF LAW
   IN FURTHER SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND A
      TEMPORARY RESTRAINING ORDER UNDER FEDERAL RULE OF CIVIL
                             PROCEDURE 65


           Dated: New York, New York                             MURIEL GOODE-TRUFANT
                  March 3, 2025                                  Corporation Counsel of
                                                                  the City of New York
                                                                 100 Church Street
                                                                 New York, New York 10007
                                                                 (212) 356-1000

                                                                 Attorney for Plaintiﬀ
          Case 1:25-cv-01510-JHR                          Document 18                 Filed 03/03/25               Page 2 of 16




                                                           TABLE OF CONTENTS



Preliminary Statement..................................................................................................................... 1

Argument ........................................................................................................................................ 2

           A.         Plaintiﬀ Has a Clear and Substantial Likelihood of Success on the Merits.............2

           B.         �e City Will Suﬀer Irreparable Harm in the Absence of Injunctive Relief ............8

           C.         �e Public Interest and the Equities Strongly Favor the City; No Bond Is
                      Required .................................................................................................................10

Conclusion .................................................................................................................................... 11

Certificate of Compliance with Local Rule .................................................................................. 12




                                                                        ii
          Case 1:25-cv-01510-JHR                       Document 18               Filed 03/03/25             Page 3 of 16




                                               TABLE OF AUTHORITIES

Cases                                                                                                                          Page(s)

Bello v. Smith,
    651 F. Supp. 3d 20 (D.D.C. 2022) .............................................................................................6

Bennet v. Spear,
   520 U.S. 154 (1996) ...................................................................................................................7

Bowen v. Massachusetts,
   487 U.S. 879 (1988) ...............................................................................................................7, 8

Catanzaro v. Weiden,
   188 F.3d 56 (2d Cir. 1999).........................................................................................................6

City of Houston v. Dep’t of Hous. & Urban Dev.,
    24 F.3d 1421 (D.C. Cir. 1994) ...................................................................................................9

Cnty. of Santa Clara v. Trump,
   250 F. Supp. 3d 497 (N.D. Cal. 2017) .......................................................................................6

Cnty. of Suffolk v. Sebelius,
   605 F.3d 135 (2d Cir. 2010).......................................................................................................8

Cnty. of Westchester v. U.S. Dep’t of Hous. & Urb. Dev.,
   802 F.3d 413 (2d Cir. 2015).......................................................................................................8

Doe v. Trump,
   Civil No. 25-10135-LTS, 2025 U.S. Dist. LEXIS 27582
   (D. Mass Feb. 13, 2025)...........................................................................................................10

Franklin v. Massachusetts,
   505 U.S 788 (1992) ..................................................................................................................10

Freedom Holdings, Inc. v. Spitzer,
   408 F.3d 112 (2d Cir. 2005).......................................................................................................9

Int’l Controls Corp. v. Vesco,
    490 F.2d 1334 (2d Cir. 1974)...................................................................................................11

Jacksonville Port Auth. v. Adams,
   556 F.2d 52 (D.C. Cir. 1977) .....................................................................................................9

Larson v. Domestic & Foreign Commerce Corp.,
   337 U.S. 682 (1949) ...................................................................................................................8

Maryland Dep’t of Human Res. v. Dep’t of Health and Human Servs.,
  763 F.2d 1441 (1985).................................................................................................................8


                                                                    iii
          Case 1:25-cv-01510-JHR                         Document 18                 Filed 03/03/25               Page 4 of 16




New York v. Trump,
   No. 1:25-cv-00039, 2025 U.S. Dist. LEXIS 17593
   (D.R.I. Jan. 31, 2025).............................................................................................................3, 5

Pacito v. Trump,
   No. 2:25-cv-255-JNW, 2025 U.S. Dist. LEXIS 36606
   (W.D. Wash. Feb. 28, 2025) ....................................................................................................10

Rochester Pure Waters Dist. v. Envt’l Prot. Agency,
   960 F.2d 180 (D.C. Cir. 1992) ...................................................................................................9

Temple Univ. v. White,
   941 F.2d 201 (3d Cir. 1991).....................................................................................................11

Statutes

2 C.F.R. § 200.339 ...........................................................................................................................1

2 C.F.R. § 200.340 ...........................................................................................................................1

2 C.F.R. § 200.341 ...........................................................................................................................1

2 C.F.R. § 200.342 ...........................................................................................................................1

2 C.F.R. § 200.343 ...........................................................................................................................1

5 U.S.C. § 702 ..................................................................................................................................8

5 U.S.C. § 706 ..................................................................................................................................4

31 C.F.R. § 210.6(f) .........................................................................................................................4




                                                                       iv
       Case 1:25-cv-01510-JHR           Document 18       Filed 03/03/25      Page 5 of 16




                                PRELIMINARY STATEMENT

       In the ten days since Plaintiﬀs ﬁled this motion, the need for a temporary restraining order

(“TRO”) has come into ever-sharper relief. Newly introduced legislation appears aimed at ending

the Shelter and Services Program (“SSP”) and rescinding the funds at issue here. But for

Defendants’ lawless money grab, those funds would remain with the City during the pendency of

this litigation and any lawful administrative process. Instead, Defendants took away those funds

and put them at risk without notice or legal authority.

       Defendants’ post hoc, hastily-constructed facade of compliance review cannot conceal their

real aim: to prevent any payment to the City and to thereby thwart Congress’s purpose for the

grants: to assist local governments with the cost of providing shelter and services to migrants that

Defendants released into the community. Defendants concede that before clawing back funds, they

are “required to follow the process outlined in 2 C.F.R. 200.339-343 which requires notice and an

opportunity” for the City to be heard. Defs’ Mem. of Law in Opp. (“Op.”) at 13. �ey would

nonetheless exempt their money grab from these procedures by styling it as a “withholding” of

funds and reframing the payment as an administrative “error” to be corrected as one would cancel

a check sent to the wrong recipient. But the funds were not withheld, and there was no error – only

Defendants’ determination to take back reimbursements and prevent further payments under a

program they no longer like, which Defendants lack authority to do. Defendants’ professed

concerns about alleged crime, “harboring,” and compliance with grant conditions are red herrings;

they attempt to impose new and retroactive conditions after the very same agency reviewed and

determined the payments met the eligibility requirements.

       Temporary relief ordering the return of the funds and preventing further mischief is

necessary to prevent this case from being mooted by congressional or executive action, imposes


                                                 1
       Case 1:25-cv-01510-JHR          Document 18        Filed 03/03/25      Page 6 of 16




no cognizable burden on Defendants, and should be granted.


                                          ARGUMENT

   A. Plaintiﬀ Has a Clear and Substantial Likelihood of Success on the Merits

       As demonstrated in the City’s opening brief, the City is likely to prevail on the merits as

to all of its claims. City Mem. of Law (“MOL”), ECF 10, at 11-18. Indeed, Defendants’ lawless

conduct is the very deﬁnition of unreasoned and disordered government action.

       Defendants’ opposition relies on a ﬁctional account portraying their money grab as

“business as usual.” �at is belied by the facts that demonstrate that nothing Defendants did falls

within the normal workings of government. �eir abrupt removal of the funds was not a

“withholding” or the correction of a payment “error” as they claim, and it was not done for the

purpose Defendants claim – to comply with DHS policies and ensure that SSP funds are not used

to fund illegal activity. It was done because Defendants do not want funds to be disbursed to

reimburse the City for providing shelter and other services to noncitizen migrants. Defendants’

arguments on the likelihood of success on the merits fail because they all rest on this ﬁction.

       Arbitrary and Capricious and Contrary to Law. Defendants argue that the SSP funds

should have been withheld under a January 28, 2025 Memorandum (“Noem Memo”), which

pauses any grant disbursements for which “non-proﬁt organizations are eligible” and that “touch

in any way on immigration.” Rubin Decl. Ex. E, ECF 6-5. �e money grab, they disingenuously

claim, was merely to correct an “error.” Op. at 6-7. �ese assertions do not survive scrutiny.

       �e Noem Memo unequivocally seeks to frustrate Congress’s intent in authorizing the

SSP program by instituting an across-the-board, categorical pause challenging its statutory

purpose of providing funds to cover the costs of services provided to certain migrants. Agency

action that is designed to thwart the implementation of a program that Congress authorized, by


                                                 2
       Case 1:25-cv-01510-JHR          Document 18        Filed 03/03/25       Page 7 of 16




withholding funds that Congress appropriated for the purpose, is contrary to law. �e Noem

Memo is itself ultimate agency action that is arbitrary and contrary to law.

       Furthermore, as the City demonstrated, MOL at 6–7, from the February 4 money grab

through today, Defendants have been enjoined from eﬀectuating any pauses or other impediments

to disbursement of grant funds unless they are based on the laws and regulations applicable to the

grant or terms and conditions of the grant itself. New York v. Trump, No. 1:25-cv-00039, 2025

U.S. Dist. LEXIS 17593 (D.R.I. Jan. 31, 2025), ECF 50 at 4-7 (ﬁnding likelihood of success on

the merits), Rubin Decl. ¶ 10 & Ex. A, ECF 6, 6-1. �e Noem Memo does not ﬁt these categories.

       Defendants’ reliance on the Noem Memo is also inconsistent with positions Defendants

have taken in New York v. Trump. In New York v. Trump, the plaintiﬀ States are seeking to enforce

the TRO against defendants, to require them to un-freeze SSP funds, among other FEMA funds.

2d Mot. To Enforce TRO, New York v. Trump, No. 1:25-cv-00039 (D.R.I. Feb. 28, 2025), ECF

No. 160. Defendants, however, have denied that there is a pause on funding. See McCombs Aﬀ.

Ex. E, New York v. Trump, No. 1:25-cv-00039 (D.R.I. Feb. 28, 2025), ECF No. 160-1 at 32. �is

appears to directly contradict Defendants’ position in this proceeding: that all SSP funding is

paused pursuant to the Noem Memo. In relying solely on the Noem Memo as authority for the

money grab, Defendants eﬀectively concede that they are not acting pursuant to any grant-speciﬁc

terms and conditions or any regulations applicable thereto.

       �ese facts alone defeat Defendants’ argument that the money grab was simple error

correction. However, even standing alone, Defendants strain credulity in asserting that the money

grab was akin to sending a check to the wrong address, and then cancelling it. Op. at 18. �e grab-

back was preceded by a series of public statements from Defendants blasting the City for providing

shelter to “illegal immigrants” at “luxury hotels”; calling for SSP money to be “claw[ed]back”;




                                                 3
       Case 1:25-cv-01510-JHR          Document 18       Filed 03/03/25      Page 8 of 16




criticizing Congress for enacting SSP; and promising “it stops now.” Rubin Decl., ECF 6 at ¶¶ 6–

8. Afterwards, DHS terminated four FEMA staﬀers for making “egregious payments for luxury

NYC hotels” and Defendant Noem declared victory, stating that she had “clawed back the full

FEMA payment” and further that “[m]ark my words: there will not be a single penny spent that

goes against the interest and safety of the American people.” ECF 6 at ¶¶ 9, 16. Defendants’ laid

bare that the money grab furthers their opposition to the SSP, and in particular the provision of

funds to reimburse the City for shelter and other services provided to noncitizen migrants released

by DHS. 1

       APA Violation and Procedural Due Process Violation. Defendants posit that the

“noncompliance letter” presents legitimate reasons for the money grab and oﬀers reasonable and

adequate procedural safeguards to the City in compliance with the APA and the Due Process

Clause. But as the City explained in its opening brief, the “noncompliance letter” is pretextual

and it oﬀers no real process. MOL at 15–16. �e letter implies that the City used SSP money to

support criminal activity – based solely and vaguely on media reports that do not describe any

unlawful activity by the City – and demands information that is largely in Defendants’ hands and

apparently unrelated to Defendants’ purported concerns about illegal activity.

       Defendant FEMA was perfectly aware, from its thorough review of the City’s detailed

submissions and from two site visits, that the City was using the Roosevelt Hotel, and FEMA


1
 Notably, Defendants did not comply with the applicable rules or regulations for a reversal of an
Automated Clearing House (“ACH”) payment. Under 31 C.F.R. § 210.6(f), which incorporates by
reference the National Automated Clearing House Association (“NACHA” ) 2021 Operating Rules
& Guidelines (“NACHA Rules”) an “erroneous entry” subject to reversal is (1) an exact duplicate
of an earlier ACH payment; (2) a payment not to the intended recipient; (3) an incorrect dollar
amount or date; or (4) a payment to a former employee duplicative of a check already delivered to
that employee. 31 C.F.R. 210.3(b). An ACH reversal is improper if initiated for any other reason.
NACHA Rules 2.9.5. FEMA’s reasons for reversal are not within any of the allowable criteria.


                                                4
       Case 1:25-cv-01510-JHR           Document 18       Filed 03/03/25     Page 9 of 16




approved those reimbursements. �at the letter is silent about the site inspections speaks volumes.

Furthermore, public statements by Defendants Noem and Hamilton make abundantly clear their

ﬁrm resolve that SSP funding “stops now.” See supra; Rubin Decl. ECF 6 ¶¶ 7, 8, 16. �e

“noncompliance” letter oﬀers only sham process, and therefore does not satisfy the procedural

requirements of the APA.

       Defendants’ money grab was also unquestionably a violation of the City’s right to

procedural due process under the Due Process Clause of the Fifth Amendment. �e City had—and

continues to have—a protectible property interest in these federal grant funds that Congress has

authorized and that FEMA awarded, approved, and disbursed to the City. County of Santa Clara

v. Trump, 250 F. Supp.3d 497, 507 (N.D. Cal. 2017). It was deprived of that property without any

process at all, let alone adequate process.

       Defendants’ arguments to the contrary are baseless. Relying on the program-wide pause

ordered in the Noem Memo, Defendants argue that the City had no property interest in the SSP

funds because they were paid “improperly” and in “error” and therefore the funds were not actually

“approved and disbursed.” Op. at 18-19; id. at 17-18 (arguing that for this reason, Defendants also

were not required to follow prescribed procedures under regulations). Of course, the funds were

in fact approved and disbursed. Jiha Decl. ¶¶ 19, 20, 39. In any event, as discussed above,

Defendants’ reliance on the Noem Memo is misplaced. It is arbitrary – and nonsensical – to say

that a “pause” (even if legitimate, which this is not) in paying out funds means that the agency is

permitted to take back whatever funds were already approved as eligible and paid, and then claim

they are merely pausing release of the funds. �eir argument that there was no need to follow

regulatory requirements is contradicted by their own statements in New York v. Trump, where

Defendants advised the Court that they were following all applicable notice and other procedural




                                                5
      Case 1:25-cv-01510-JHR          Document 18          Filed 03/03/25    Page 10 of 16




requirements. Rubin Decl Ex. C.

       Defendants’ further argument that post-deprivation process is adequate here is mistaken,

as their own cited authorities make clear. Op. at 20. Post-deprivation process may be suﬃcient

where “there is competent evidence allowing the oﬃcial to reasonably believe that an emergency

does in fact exist, or that aﬀording predeprivation process would be otherwise impractical,”

Catanzaro v. Weiden, 188 F.3d 56, 63 (2d Cir. 1999), or where there is a “need to minimize the

potential for asset ﬂight.” Bello v. Smith, 651 F. Supp. 3d 20, 40 (D.D.C. 2022). None of those

circumstances are present here, and Defendants do not even claim they are.

       Separation of Powers and Spending Clause. Contrary to Defendants’ arguments (Op.

at 22), the money grab violates the separation of powers doctrine. Defendants executed the money

grab to frustrate the SSP’s Congressionally-authorized purpose—oﬀsetting costs for providing

shelter and other services to noncitizens released into the community by DHS—which

Defendants lack authority to do. See MOL at 16–17. �e money grab moreover imposes new

post-award conditions that are inconsistent with and negate the grants’ purpose, see MOL at 17–

18, such as by “pause[ing]” SSP on grounds that “it touches on immigration” and could go to

nonproﬁts and requiring a post hoc review of SSP ostensibly to determine whether the City, in

providing SSP reimbursement-eligible services to migrants released by DHS into the U.S., was

“encouraging or inducing” immigration in violation of law (Jiha Decl. ECF 9 Ex. 20). These

conditions reflect Defendants’ underlying animus to the grant itself in that they consider the

grants’ stated purpose to be suspect or even the funding of illegal activity. Defendants do not

grapple with any of these arguments. Instead, they fall back on their meritless argument that the

money grab is a withholding of funds disbursed in error.

       Final Agency Action. Defendants wrongly argue that there is no “ﬁnal agency action” to




                                                6
      Case 1:25-cv-01510-JHR           Document 18       Filed 03/03/25      Page 11 of 16




challenge. But agency action is ﬁnal if it is “the consummation of the agency's decision making

process” and “the action [is] one by which rights or obligations have been determined or from

which legal consequences will ﬂow.” Bennet v. Spear, 520 U.S. 154, 178 (1996) (citations

omitted). �e money grab easily satisﬁes both of these requirements. Defendants made public their

decision-making process and determination to make the money grab before they took the funds,

see supra and Rubin Decl. ¶¶ 6–9, and the agency action was completed when the money grab was

executed. See Hamilton Decl. at ¶ 11. �e money grab determined the City’s rights and has legal

consequences. Defendants took $80 million from the City without any notice or process, in

denigration of the City’s due process rights. And worse, Defendants are now arguing that as a result

of the money grab, the City has no property interest in the funds. See Op. at 19.

       Defendants’ post hoc scramble to add a veneer of legitimacy does not insulate the money

grab from judicial review and does not prevent the City from seeking immediate relief. As

discussed above, the “noncompliance” letter does not oﬀer a genuine opportunity to contest the

money grab because it is pretextual and the outcome pre-determined. Additionally, as discussed

further below, there is a strong likelihood that the $80 million in SSP funding will become

unavailable during the pendency of the administrative process. Requiring the City to respond to

the “noncompliance” letter and participate in pretextual administrative process before the SSP

funds are paid back would be futile and would likely defeat the City’s remedy. See J.G. v. Bd. of

Educ. of Rochester City Sch. Dist., 830 F.2d 444, 447 (2d Cir. 1987) (to show futility, a plaintiff

must demonstrate “adequate remedies are not reasonably available” or “the wrongs alleged could

not or would not have been corrected by resort to the administrative hearing process”).




                                                 7
      Case 1:25-cv-01510-JHR            Document 18        Filed 03/03/25      Page 12 of 16




       �e Tucker Act Does Not Apply. Defendants seek, without merit, dismissal on

jurisdictional grounds, asserting that this dispute is one “for money damages . . . cognizable solely

under the Tucker Act.” Op. at 14. But “[t]he fact that a judicial remedy may require one party to

pay money to another is not a suﬃcient reason to characterize the relief as ‘money damages.’”

Bowen v. Massachusetts, 487 U.S. 879, 893 (1988). Claims for damages, which “provide a victim

with monetary compensation for an injury to his person, property, or reputation,” are barred by 5

U.S.C. § 702, but this case is not barred because it is “an equitable action for speciﬁc relief,” which

seeks “recovery of speciﬁc property or monies.” Id. (quoting Larson v. Domestic & Foreign

Commerce Corp., 337 U.S. 682 (1949)). For the same reason, the Court of Claims is not the

appropriate venue. Bowen, 487 U.S. at 905.

       �is action seeks equitable relief—the return of “the very thing to which [the City] was

entitled”—and is properly decided under the APA. Id. at 895 (quoting Maryland Dep’t of Human

Res. v. Dep’t of Health and Human Servs., 763 F.2d 1441, 1446 (1985)). Defendants concede as

much by relying on Cnty. of Westchester v. U.S. Dep't of Hous. & Urb. Dev., 802 F.3d 413, 430-

432 (2d Cir. 2015), under which withholding of appropriated grant funds is an APA violation, not

a suit for money damages. Op. at 10; see also Cnty. of Suﬀolk v. Sebelius, 605 F.3d 135, 141 (2d

Cir. 2010. �e Tucker Act oﬀers no basis to dismiss this lawsuit for equitable relief.

   B. �e City Will Suﬀer Irreparable Harm in the Absence of Injunctive Relief

       As previously demonstrated, the City is at signiﬁcant risk of irreparable harm without a

TRO. �e appropriated funds may be rescinded, awarded to other recipients, or lapse. Courts have

consistently held that such funds need to be preserved before they become unavailable in order

to preserve – and not moot – claims such as those asserted here. MOL at 19-21.

       �e threat of irreparable harm has only intensiﬁed since this suit was ﬁled. On February




                                                  8
      Case 1:25-cv-01510-JHR           Document 18       Filed 03/03/25      Page 13 of 16




27, 2025, Senate bill S. 711, entitled “A bill to terminate the Shelter and Services Program of the

Federal Emergency Management Agency, and for other purposes,” was referred to the Senate

Committee on Homeland Security and Government Aﬀairs. S. 771, 119th Cong. (2025) (as

reported by S. Comm. On Homeland Security and Governmental Aﬀairs, Feb. 28, 2025). �is bill

– nicknamed the “End FEMA Beneﬁts for Illegal Immigrants Act” by its sponsors 2—takes direct

aim at SSP and Defendants may argue rescinds the funds in dispute, rendering the City’s claim

moot. See Rochester Pure Waters Dist. v. EPA, 960 F.2d 180, 185-186 (D.C. Cir. 1992) (funds

rescinded by Congress could not be subject to a permanent injunction).

       �us, the rescission threat is not, as Defendants suggest (Op. at 12), mere “speculation”

as to future congressional action. �e legislation ampliﬁes the immediate and tangible risk of

rescission during this action’s pendency if the funds are left in Defendants’ possession.

Defendants oﬀer no other way to protect against this threat and no support for their suggestion

that a TRO would “override Congress’s Appropriations Power.” Op. at 12. As the City has shown,

courts consider it necessary to protect funds at the outset to avoid mootness and that to do

otherwise is an abuse of discretion. MOL at 19-21 (citing cases). Defendants’ reliance on Freedom

Holdings, Inc. v. Spitzer, 408 F.3d 112, 114 (2d Cir. 2005)) is misplaced because that case

involved funds of private entities, not federal funds subject to Congressional rescission. Because

the funds at issue here were previously appropriated by Congress, and then reimbursed consistent

with that appropriation, a TRO reinforces, rather than undermines, Congressional prerogative.

Further, Defendants’ argument that the funds are protected from deobligation under applicable

rules and grant terms and conditions, Op. at 19-20, strains credulity because Defendants have

already demonstrated their willingness to bypass those protections.


2
 https://www.risch.senate.gov/public/index.cfm/pressreleases?ID=EAC2CB40-4656-43A3-
A337-86FD0D9A282B

                                                 9
      Case 1:25-cv-01510-JHR            Document 18      Filed 03/03/25      Page 14 of 16




    C. �e Public Interest and the Equities Strongly Favor the City; No Bond Is Required

       �e equities strongly favor the City because an injunction serves the public interest by

allowing funds that Congress appropriated, and FEMA awarded, approved, and disbursed, to

remain with the City. See MOL at 21-22. While the City is acting in the public interest to protect

its reimbursement for costs incurred consistent with congressional intent, Defendants are

intentionally thwarting that intent. Defendants argue that a TRO would injure them, seemingly

because they would not be able to eﬀectuate the Noem Memo’s pause on SSP funding and because

of the concerns professed in the post hoc Noncompliance Letter. But Defendants have no need for

the money grab – normal administrative process provides numerous methods to recover any funds

that they actually determine are misspent, see supra, and Defendants have not identiﬁed any

legitimate basis to suspect that funds they disbursed to the City following a thorough review of

expenditures reimburse any illegal activity at all. 3

       Regarding a bond, Defendant’s ability to recover for any harms incurred during the period

the injunction is in place is not at risk. Given the equities and that Defendants have identiﬁed no

risk of such harm, the Court should exercise its authority to waive the bond requirement or set its

amount at zero. See Int’l Controls Corp. v. Vesco, 490 F.2d 1334, 1356 (2d Cir. 1974).




3
  Defendants request dismissal of President Donald Trump from this lawsuit, Op. at 26, but this
issue should be addressed by motion to dismiss, not here. In any event, the cases relied on by
Defendants are inapposite, as they provide only that "Congress cannot act on, and courts cannot
examine, the President’s actions on subjects within his conclusive and preclusive constitutional
authority." Trump v. U.S., 603 U.S. 593, 609 (2024); Franklin v. Massachusetts, 505 U.S 788,
802 (1992). But Defendants’ actions here are not within the exclusive power of the President nor
his official duties. In ordering preliminary relief in cases where the President is named, courts
retain the President as a party if his conduct is not enjoined by the order. See Doe v. Trump, Civil
No. 25-10135-LTS, 2025 U.S. Dist. LEXIS 27582 *48 ( D. Mass February 13, 2025) (assuming
without deciding that the president may be enjoined, but declining to enjoin his conduct as it was
not necessary); see also Pacito v. Trump, Index No. 2:25-cv-255-JNW, U.S. Dist. LEXIS 36606
* 75 (W. D. Wash. February 28, 2025).

                                                  10
      Case 1:25-cv-01510-JHR          Document 18        Filed 03/03/25      Page 15 of 16




                                        CONCLUSION

       For all of the reasons set forth herein and the papers submitted by the City to date, the

motion should be granted.

                                         Respectfully submitted,

                                             MURIEL GOODE-TRUFANT
                                             Corporation Counsel of
                                              the City of New York
                                             Attorney for Plaintiﬀ The City of New York
                                             100 Church Street
                                             New York, NY 10007
                                             (212) 356-1000


                                             By:     /s/ Joshua Rubin
                                                     Joshua Rubin
                                                     Doris Bernhardt
                                                     Melanie Ash
                                                     June R. Buch
                                                     Aatif Iqbal
                                                     Gail Rubin
                                                     Elizabeth Slater
                                                     Assistant Corporation Counsel




                                                11
      Case 1:25-cv-01510-JHR           Document 18        Filed 03/03/25      Page 16 of 16




                 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE

       As required by Local Civil Rule 7.1(c), I certify that the document contains 3,404 words,

excluding the parts of the document that are exempted by Local Civil Rule 7.1(c) (“�ese limits

do not include the caption, any index, table of contents, table of authorities, signature blocks, or

any required certiﬁcates, but do include material contained in footnotes or endnotes.”).



                                                              s/Doris Bernhardt
                                                              Doris Bernhardt




                                                 12
